Case 1:03-cV-01236-.]DB-tmp Document 31 Filed 04/22/05 Page 1 of 4 Page|D 61

RUMONT KIRKPATRICK,

Plaintiff,

VS.

CORRECTIONS CORPORA'I`ION
OF AMER{CA, et al.,

Defendants.

UNITED STATES DIS'I'RICT COURT
WESTERN DISTRICT OF TENNESSEE

EASTERN DIVISION

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Civil Action No.: 1:03-1236- B/P

 

ORDER

 

Before the Court is a Joint Motion to Extend Motion to Cornpel Deadline. The parties

are in agreement that due to the scheduled Mediation in this matter, additional time would be

useiiil to attempt to resolve certain issues that have arisen as to Defendants’ written discovery,

and, therefore, the Court finds that the Motion is well taken. Therefore, it is ORDERED that the

deadline to file a Motion to Compel is extended up to and including June 10, 2005.

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IT IS SO ORDERED.

 

JUDGE

DATED:

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with Rule 58 and ‘or 79 (a) FRCP on

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APPROVED FOR ENTRY:

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CERTIFICATE OF SERVICE

I certify that a copy of the foregoing has been served by U.S. mail upon Wayne A.
Ritchie, II and Robert W. Ritchie, Ritchie Fels & Dillard, P.C., P.O. Box 1126, Knoxville, TN
37901-1126 and W. Gaston Fairey, LLC, 1722 Main Street, Suite 300, Colurnbia, SC 29201 on

April 14, 2005.

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Notice of Distribution

This notice confirms a copy ot` the document docketed as number 31 in
case 1:03-CV-01236 vvas distributed by faX, mail, or direct printing on
Apri128, 2005 to the parties listed.

 

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Honorable J. Breen
US DISTRICT COURT

